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                                    STATEMENT OF FACTS

        Your Affiant,                  , is a Special Agent with the Federal Bureau of Investigation
(“FBI”) and has been so employed since August 2021. I am currently assigned to a Domestic
Terrorism squad out of the Los Angeles FBI Office. My duties include investigating violations of
the laws of the United States, specifically investigations related to domestic terrorism. As a Special
Agent, I have received both formal and informal training from the FBI regarding domestic and
foreign terrorism investigations. Through my training and experience with the FBI, I am familiar
with the methods of operation that individuals associated with domestic and foreign terrorist
organizations employ – including their use of social media and online platforms such as Facebook,
Instagram, and YouTube – to communicate with associates regarding their ideology, to organize
actions on behalf of their organizations, and to bring attention to their political and social agendas.
As an FBI Special Agent, I have also participated in the execution of multiple search warrants,
including federal search warrants executed at physical residences in cases involving domestic
terrorism.

        The United States Capitol is secured 24 hours a day by United States Capitol Police
(“USCP”). Restrictions around the Capitol include permanent and temporary security barriers and
posts manned by USCP officers. Only authorized people with appropriate identification were
allowed access inside the Capitol. On January 6, 2021, the exterior plaza of the Capitol was also
closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the Capitol
building, and Capitol Police were present and attempting to keep the crowd away from the Capitol
building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the Capitol were locked or otherwise secured. USCP officers attempted to maintain
order and keep the crowd from entering the Capitol; however, shortly around 2:00 p.m., individuals
in the crowd forced entry into the Capitol, including by breaking windows and by assaulting
members of the Capitol Police, as others in the crowd encouraged and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the House of Representatives
and Senate, including the President of the Senate, Vice President Mike Pence, were instructed to—
and did—evacuate the chambers. Accordingly, the joint session of Congress was effectively
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suspended until shortly after 8:00 p.m. Vice President Pence remained in the Capitol from the time
he was evacuated from the Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the Capitol without
authority to be there.

                  SHAWN SCHAEFER’S ENTRY INTO THE CAPITOL

        Starting on or about December 28, 2020, SHAWN SCHAEFER (SCHAEFER) and
Individual-1 began planning to travel to Washington, D.C., to attend the “Stop the Steal” rally.
The two discussed flights to the area and hotels in D.C. On January 3, 2021, Individual-1 and
SCHAEFER exchanged messages regarding the purchase of walkie-talkies, presumably to use in
D.C. on January 6. Via text message, Individual-1 offered to buy a pair and later texted
SCHAEFER, “picked up walkie-talkies 16 mile range with several channels (24x120 sub channels)
has lots of bells and whistles. Should be good to go.” In addition to communicating through text
messages, SCHAEFER and Individual-1 met in person to plan their trip to D.C. On January 4,
2021, Individual-1 asked SCHAEFER, “You coming over tonight? Lots to discuss.” SCHAEFER
responded that he planned to and later texted, “I’m here … where park?”

        Based on a review of American Airlines records, SCHAEFER travelled from Southern
California to Washington, D.C., on January 5, 2021, and travelled to D.C. with Individual-1. The
pair flew to Baltimore, Maryland, from Los Angeles, California, via Charlotte, North Carolina.
They stayed at St. Gregory Hotel Dupont in Washington, D.C. on the nights of January 5 and 6,
2021.

       On January 6, 2021, SCHAEFER attended the rally at the Ellipse and took several
photographs of himself on the National Mall. Based on the FBI investigation into the conduct of
both SCHAEFER and Individual-1, at some point before 1:37pm EST, the two became separated.
According to Individual-1’s phone call history and SCHAEFER’s Verizon records, on January 6,
2021, the two exchanged twelve phone calls and numerous text messages between 1:37 pm EST
and 6:23 pm EST. SCHAEFER, now alone, moved east from the National Mall in the direction of
the Capitol.

       In a publicly available Vimeo video, SCHAEFER can be seen standing outside of the
Capitol on the Upper West Terrace. SCHAEFER is dressed in in a black jacket, gray hooded
sweatshirt, black gloves, blue jeans, red and black running shoes with white soles, a gray backpack
with distinctive bright lining, a face mask bunched at the base of his chin, and with a black
handheld radio attached to left-hand shoulder strap of the backpack. This radio, circled below in
yellow, is consistent with a commercially available “walkie talkie” of the type described by
Individual-1 in his January 3, 2021, messages to SCHAEFER. See Figure 1.
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                                          Figure 3.

         At approximately 2:58 pm, SCHAEFER entered the Parliamentarian’s Office, again
appearing to take photos or video, and went out of view of the camera. See Figure 4.




                                          Figure 4.

        Approximately twenty seconds after entering the Parliamentarian’s Office, SCHAEFER
exited. He appeared to hold his phone above his head and take a picture before proceeding down
the hallway.
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       SCHAEFER proceeded down the hallway for approximately twenty seconds before the
crowd that he was in was turned around by police. See Figure 5. The police moved people to the
exit, and SCHAEFER exited the Capitol building through the same door he entered at
approximately 2:59 pm. SCHAEFER was inside of the Capitol for less than two minutes.




                                            Figure 5.

                                      IDENTIFICATION




        Further review of Individual-1’s phone found a group text that included SCHAEFER. On
January 8, 2021, SCHAEFER sent Figure 6 to the group text with the Washington Monument and
a large crowd of people behind him. In the message accompanying the photo, SCHAEFER
identified himself by name. In a debrief with the FBI following his plea, Individual-1 identified
the person circled in red in Figure 6 as SCHAEFER. 1 Individual-1 further reported he is the person
whose brown sleeve is in the lower right corner Figure 6 (indicated with a green arrow).




1
 During his FBI debrief, Individual-1 was also shown Figures 2 and 5 but was unable to identify
any person in those images.
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disrnpts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For pmposes of 18 U.S.C. § 1752, a "restricted building" includes a posted, cordoned off,
or othe1wise restricted area of a building or grounds where the President or other person protected
by the Secret Se1vice, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Yom affiant fmiher submits there is also probable cause to believe that SCHAEFER
violated 40 U.S.C. § 5104(e)(2)(C), (D) and (G), which, respectively, make it a crime to willfully
and knowingly (C) with the intent to disrupt the orderly conduct of official business, enter or
remain in a room in any of the Capitol Buildings set aside or designated for the use of either House
of Congress or a Member, committee, officers, or employee of Congress, or either House of
Congress; (D) utter loud, threatening, or abusive language, or engage in disorderly or disrnptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrnpt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.



                                                     Federal Bmeau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 9th day of Januaiy 2024.



                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE ruDGE
